Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

for the
Middle District of North Carolina

Civil Division

Case No. IN cy) RZoe

)
) (to be filled in by the Clerk's Office)
JEREMY LAMOND HENDERSON )
Plaintiff(s) )
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) Yes CJ No
please write “see attached” in the space and attach an additional )
page with the full list of names.) )
-V- )
)
)
)
STATE OF NORTH CAROLINA )
Defendant(s) )
)

(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name JEREMY LAMOND HENDERSON
Street Address 3540 TORINGDON WAY SUITE 200 #1068
City and County CHARLOTTE - MECKLENBURG
State and Zip Code NORTH CAROLINA 28277
Telephone Number 980-422-3609
E-mail Address ieremylamondhendersontrust(@proton.me

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (if known), Attach additional pages if needed.

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Defendant No. 1

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 2

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

Ashlie Shanley

Cabarrus County District Attorney

Cabarrus County Courthouse - Post Office Box 70

Concord - Cabarrus

North Carolina 28026

704-262-5510

Nathaniel Knust

Cabarrus County - District Court Judge

Cabarrus County Courthouse - Post Office Box 70

Concord - Cabarrus

North Carolina 28026

704-262-5635

nathaniel.c.knust(@nccourts.org

Van Worth Shaw

Cabarrus County Sheriff's Office - Sheriff

30 Corban Avenue SE

Concord - Cabarrus

North Carolina 28025

704-920-3001

vwshaw(@cabarruscounty.us

Wayne Goodwin

Commissioner - North Carolina Division of Motor Vehicles

1S. Wilmington Street

Raleigh - Wake

North Carolina 27601

919-615-7000

dmv.commissioners.office(@ncdot. gov

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il,

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[>] Federal question [] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A, If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

The federal civil rights statues in question are 28 U.S.C. Title 18, Section 241 and 242.

B. If the Basis for Jurisdiction Is Diversity of Citizenship

L, The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (name) , 1s a citizen of the
State of (name)

b. If the plaintiff is a corporation
The plaintiff, (ame) , is incorporated

under the laws of the State of (name)

and has its principal place of business in the State of (mame)

(If more than one plaintiffis named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

Qe The Defendant(s)
a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name) . Or is a citizen of

(foreign nation)

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The defendant, (ame) _ is a citizen of

the State of (name) . Oris a citizen of

(foreign nation)

b. If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of (name) , and has its

principal place of business in the State of (name)

Or is incorporated under the laws of (foreign nation)

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3, The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

The amount in controversy is $500,000.00 for violation of civil and Intellectual Property rights
violations.

II. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled-to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

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On July 10, 2023, the Cabarrus County Magistrate's Office, Inc. - (Dun & Bradstreet Number: 603160565) and
the Cabarrus County District Attorney's Office, Inc. - (Dun & Bradstreet Number: 603160565) issued a failure to
appear Order For Arrest for JEREMY LAMOND HENDERSONO based on an affidavit made to the Cabarrus
County Courthouse by the Cabarrus County Sheriff's Office, Inc. - (Dun & Bradstreet Number:054081790). This
Order For Arrest was a retalitory action against JEREMY LAMOND HENDERSON® as the result of a
previously filed federal civil rights complaint by JEREMY LAMOND HENDERSONO for an alleged concealed
catry weapons permit violation filed by the Cabarrus County Sheriff's Office, Inc. - (Dun & Bradstreet Number:
054081790). The Cabarrus County Magistrate's Office, Inc., Cabarrus County Sheriff's Office, Inc, and the
Cabarrus County District Attorney's Office, Inc. have willfully filed frivolous criminal complaints against me in
the past in their efforts to violate my right to life, liberty, and the pursuit of happiness.

The Cabarrus County Sheriff's Office, Inc., Cabarrus County District Attorney's Office, Inc., Cabarrus County
Magistrate's Office, Inc. and the North Carolina Division of Motor Vehicles, Inc. - (Dun & Bradstreet Number;
057756906) conspired to deprive me of my right to life, liberty, and the pursuit of happiness by doing the
following:

(A). Swearing to Orders and Warrants for Arrest with allegations containing constitutional rights violations.
(B). Utilizing my copyrighted tradename and material on their documents for profit and gain.

(C). Fraudulently maintaining my copyrighted material in their databases to gain and maintain contractual
jurisdiction over me.

(D). Seizing and refusing to release property belonging to me and my organization.

(E). Violating my constitutionally protected second, fourth and fifth amendment right to life, liberty and pursuit
of happiness to generate revenue for profit and gain.

I was unalwfully arrested again by the Cabarrus County Sheriff's Office who refuses to leave me alone and
uphold their oath of office for the following alleged statutory violations:

1. M- CARRYING CONCEALED GUN(M) - Violation of N.C.G.S - 14-269 (A1) - This North Carolina
General Statue is in direct violation of the second amendment to the Constitution of the United States of
America.

2, M - DRIVING WHILE LICENSE REVOKED - NOT IMPAIRED - Violation of N.C.G.S, 20-28(A) - This
North Carolina general statue is in direct violation of United States Supreme Court Case Thompson v Smith, 154
SE 579, 11 American Jurisprudence, Constitutional Law, Section 329, page 1135. My driver license contract
with the North Carolina Division of Motor Vehicles, Inc, - (Dun & Bradstreet Number: 057756906) was
cancelled on December 17, 2020 in good standing. I am no longer interested in exchanging my constitutionally
protected right to travel in exchange for corporate benefits and privileges. They purposefully revoked a closed
account in their efforts to maintain contractual jurisdiction over me.

3. M- POSS/DISP ALT/FICT/REVD DR LICENSE - I cancelled my North Carolina Driver License contract
with the North Carolina Division of Motor Vehicles, Inc - (Dun & Bradstreet Number: 057756906) on
December 17, 2020. I now use my non citizen national passport card issued by the United States Department of
State as my official travel document and identification card. It is not an altered driver license and was not issued
by the North Carolina Division of Motor Vehicles, Inc. Therefore, they have no jurisdiction over me or the
subject matter. This is a direct violation of my right to life, liberty and pursuit of happiness. No state corporation
can force any customer to buy their product. The State of North Carolina, Inc. and its subsidiaries are private for

profit corporations impersonating government. Please see the enclosed documents from Dun & Bradstreet for
reference.

4.M - RESISTING PUBLIC OFFICER - N.C.G.S 14-223 - North Carolina has no stop and identify statue for
non resident aliens or united States citizens residing in the state. My automobile was parked in a culdesac when
the Cabarrus County Sheriff's Office, Inc. attempted to interact with me for questioning in regards to the tags
displayed on an automobile I was travelling in belonging to JEREMY LAMOND HENDERSON TRUSTO,.

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Therefore, I had no legal obligation to interact with them as a result of their investigation. - Christy v Elliott, 216
I, 74 HE 1035, LRA NS 1905 - 1910.

The following defendants are responsible for violating my constitutional rights and their oaths of office in the
following ways (If they have one).

1. Ashlie Shanley - Cabarrus County District Attorney's Office, Inc. - (Dun & Bradstreet Number: 603160565).
Ashlie Shanley is currently employed by the Cabarrus County District Attorney's Office, Inc. Prosecutorial
District 25. She has authorized the agencies and corporations operating under her leadership to consistently
violate my constitutionally protected right to life, liberty, and the pursuit of happiness by denying my second
amendment right to travel in an automobile and to bear arms in exchange for her benefits and privileges known
as Concealed Carry Weapons Permits and Driver's Licenses. I was not using the automobile that I was traveling
in for profit and gain on the roadways. District Attorney Ashley Shanley has also authorized her courthouse to
assign and reschedule court dates on their dockets without my knowledge in their attempts to default me. This is
also a retalitory action as a result of a previously filed federal lawsuit against her Sheriff's Office. This is a direct
violation of the second amendment for the Constitution of the United States of America. She also authorizes her
security guards on patrol to violate the second, fourth, and fifth amendment constitutionally protected rights for
the men and women living in and traveling through Cabarrus County, North Carolina without consequences as
well.

2. Nathaniel Knust - Cabarrus County District Court Judge - Judiciary Courts of the State of North Carolina, Inc.
- (Dun & Bradstreet Number: 603160565). Nathaniel Knust was the Magistrate assigned to Case Number:
23CR22 1205-120 (Property of JEREMY LAMOND HENDERSON TRUSTC). Nathaniel Knust violated my
second amendment right to travel and bear arms by ordering the Cabarrus County Sheriff's Office, Inc. - (Dun &
Bradstreet Number: 054081790) to destroy my firearm with no probable cause for doing so. Nathaniel Knust and
the Cabarrus County Sheriff, Van Worth Shaw were angry at me for a previously filed federal civil rights
complaint against the Cabarrus County Sheriff's Office, Inc. - (Dun & Bradstreet Number: 054081790).
Nathaniel Knust violated his oath of office (If he has one), my right to travel, and my second amendment right to
bear arms to protect myself. He also ordered me to serve 45 days of incarceration as a result of the
aforementioned unconstitutional statutory violations.

3. Van Worth Shaw - Cabarrus County Sheriff's Office, Inc. - (Dun & Bradstreet Number: 054081790). The
Cabarrus County Sheriff's Office, Inc. has consistently violated my constitutional right to life, liberty and the
pursuit of happiness dating back to November 4, 2019 during a traffic stop by one of their employees for an
alleged window tint violation. The Cabarrus County Sheriff's Office, Inc. has unlawfully arrested me, searched,
and seized my property on more than one occasion. I did not authorize them to unlawfully seize any of my
property or falsely arrest me. This is the second federal civil rights action I am filing against them. This office is
not being held responsible for their unalwful and unconstitutional business practices. They conduct unlawful
searches and seizures of my property during every encounter I have with them.

4, Wayne Goodwin - Commissioner of the North Carolina Division of Motor Vehicles, Inc. - (Dun & Bradstreet
Number: 057756906). The North Carolina Division of Motor Vehicles, Inc. is a private, for profit corporation
impersonating government. They are private contractors in the business of selling Driver Licenses, State
Identification Cards, and Vehicle Registrations for profit and gain. They are deceiving the public into believing
they are a government agency. Look on the top left side of your vehicle registration renewal invoice and you will
see the word "Customer's Name" in big bold red letters. Corporations and organizations have "Customer's",
governments don't.

I made the mistake of doing business with this company upon relocating to North Carolina in 2016. I mutually
agreed to cancel my contractual obligation with them on December 17, 2020. This cancellation occurred four
years ago. Unfortunately, this company is still attempting to use an expired contractual agreement against me in
their courts as of March 18, 2024.

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IV.

I recently discovered that my personal information is listed in the North Carolina Division of Motor Vehicles,
Inc. database as "revoked". The account was not in a revoked status upon cancellation of the contract on
December 17, 2020. I also recently discovered that this agency fraudulently changed the status of a cancelled
contractual agreement to "revoked" status in their attempts to violate my constitutionally protected right to travel
without conducting business with them.

Now, the North Caroliabn Division of Motor Vehicles, Inc. is attemptingto use a closed and cancelled account
against me in court. I did not agree to their deceptive and fraudulent business practices. I have contacted
Commissioner Wayne Goodwin by certified mail to inform him that I do not consent to his agency maintaining
my copyrighted information in their database. I have also demanded them to remove all of my copyrighted
information from their database. They have yet to comply with my demands. I will not continue to allow this
company to use my copyrighted information in their database for profit and gain.

I, JEREMY LAMOND HENDERSONO® am no longer a member of the private, for profit corporation calling
itself State of North Carolina, Inc. - (Dun & Bradstreet Number: 003459047) or its subsidiaries. I am seeking a
$500,000.00 judgement and injunctive relief against these officials and their corporations for the damages they
have bestowed upon me. Please let the record reflect that I, JEREMY LAMOND HENDERSON® have stated a
claim with evidence for which relief can and should be granted. Please review the enclosed documents for
evidence supporting my claim. The documents enclosed are as follows:

1. Florida Secured Transaction Registry - UCC 1 Financing Statement File No: 20240025171X.
2. Security Agreement No: 07251979-JLH-SA.

3. Common Law Coptright Notice No: 07251979-JLH-CLC.

4. Legal Notice and Demand No: 07251979-JLH-LND.

5. US. Citizenship and Immigration Services Control Number: NRC2023292899,

This civil action is filed in accordance with UCC 1-202 (Notice; Knowledge), UCC 3-302 (HOLDER IN DUE
COURSE), UCC 3-305 (DEFENSES AND CLAIMS IN RECOUPMENT), and UCC 3-306 (CLAIMS TO AN
INSTRUMENT). I, JEREMY LAMOND HENDERSONO did not authorize the aforemntioned agencies to
continue underwriting their corporate statues and codes against my copyrighted estate.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing atthe present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts, Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

I, JEREMY LAMOND HENDERSONG@ am asking the court to grant me a $500,000.00 relief to the following
offenses:

1. Copyright Infringement.

2, Violation of constitutionally protected civil rights.
3. Larceny of a Firearm.

4. False Arrest and Imprisonment.

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V.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served, I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 18/2024

Signature of Plaintiff Cet Wl. L_

Printed Name of Plaintiff J~REMY LAMOND HENDERSONO

/

B. For Attorneys

Date of signing:

. Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Street Address
State and Zip Code
Telephone Number
E-mail Address

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